           Case 2:07-cr-00056-LKK Document 67 Filed 11/20/07 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2
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 3   Assistant Federal Defender
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   KELVIN BANISTER
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       ) No. 2:07-cr-056 LKK
                                     )
11                  Plaintiff,       ) STIPULATION AND ORDER CONTINUING
                                     ) CASE AND EXCLUDING TIME
12        v.                         )
                                     )
13   KELVIN BANISTER, et. al.        ) Date:     November 27, 2007
                                     ) Time:     9:30 a.m.
14                  Defendants.      ) Judge:    Hon. Lawrence K. Karlton
     __________________________      )
15
16
          IT IS HEREBY STIPULATED by and between Assistant United States
17
     Attorney Benjamin Wagner acting on behalf of Assistant United States
18
     Attorney Robin Taylor, Counsel for Plaintiff, and Assistant Federal
19
     Defender Jeffrey L. Staniels, Counsel for Defendant Kelvin Banister, ,
20
     that the date for judgment and sentencing scheduled for November 27,
21
     2007, be vacated. The need for a continuance is occasioned by delay in
22
     completing preliminary submissions to the probation office and thereby
23
     delaying completion of the draft presentence report.
24
          The parties request that the matter be recalendared according to
25
     the following schedule:
26
     Proposed Presentence Report                                   December 11, 2007
27
     Counsel’s Written Objections to Proposed PSR                  December 26, 2007
28
              Case 2:07-cr-00056-LKK Document 67 Filed 11/20/07 Page 2 of 2


 1   Presentence Report                                                 January 8, 2008
 2   Motion for Correction of PSR                                      January 15, 2008
 3   Judgment and Sentencing                                           January 23, 2008
 4
 5               IT IS SO STIPULATED.
 6
 7   Dated:    November 16, 2007                /S/ Benjamin Wagner for
                                               ROBIN TAYLOR
 8                                             Assistant United States Attorney
                                               Counsel for Plaintiff
 9
10   Dated:    April 6, 2007                    /S/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
11                                             Assistant Federal Defender
                                               Counsel for Defendant
12                                             KELVIN BANISTER
13
14
                                          O R D E R
15
16         IT IS SO ORDERED.
17                                 By the Court,
18
19   Dated: November 20, 2007
20
21
22
23
24
25
26
27
28

     Stipulation and Order
     Continuing Case                           2
